                                    Exhibit 6G
                   August 13, 2014 S. Taranto Deposition Transcript




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             - SUZANNE TARANTO -                                 1            - SUZANNE TARANTO -
           IN THE UNITED STATES BANKRUPTCY COURT                 2
           FOR THE EASTERN DISTRICT OF MICHIGAN                  3   ELLIOT G. CROWDER, ESQ. (Via Telephone)
                                                                 4   Stevenson & Bullock, PLC
                                                                 5   26100 American Drive
     In Re:                  ) Chapter 9                         6   Suite 500
                                                                 7   Southfield, Michigan 48034
     CITY of DETROIT, MICHIGAN,             ) Case No. 13-53846  8      Appearing on behalf of Gabriel Roeder Smith
                                                                 9
               Debtor.        ) Hon. Steven Rhodes              10   ALSO PRESENT:
                                                                11     Kristen Zarnetske, Videographer
                                                                12
     DATE: August 13, 2014                                      13
     TIME: 1:11 p.m.                                            14
                                                                15
                                                                16
             VIDEOTAPED DEPOSITION OF SUZANNE                   17
     TARANTO, held at the offices of Jones Day,                 18
     222 East 41st Street, New York, New York, pursuant         19
     to Order, before Hope Menaker, a Shorthand                 20
     Reporter and Notary Public of the State of New             21
     York.                                                      22
                                                                23
                                                                24
                                                                25
                                                   Page 2                                                               Page 4
 1            - SUZANNE TARANTO -                               1          - SUZANNE TARANTO -
                                                                2
 2   A P P E A R A N C E S:                                                    INDEX
 3   MIGUEL F. EATON, ESQ.                                      3
 4   Jones Day                                                       WITNESS: SUZANNE TARANTO
 5   51 Louisiana Avenue N.W.                                   4
                                                                     EXAMINATION BY                         PAGE
 6   Washington D.C. 20001-2113                                 5
 7      Appearing for The Debtor                                     MR. HOWELL                             6
 8                                                              6
                                                                7
 9   RICHARD U. S. HOWELL, ESQ.                                      EXHIBITS FOR IDENTIFICATION
10   Kirkland & Ellis, LLP                                      8
11   300 North LaSalle Street                                        NUMBER      DESCRIPTION                     PAGE
12   Chicago, Illinois 60654                                    9
                                                                     1     Expert report of Suzanne         10
13      Appearing on behalf of Syncora                         10          Taranto
14                                                             11    2     POA 00260505 - 522               38
15   DANIEL MORRIS, ESQ.                                       12    3     POA 00260853 - 856               60
                                                               13    4     Proof of Claim             127
16   Dentons US LLP                                            14
17   1301 K Street, N.W.                                       15
18   Suite 600, East Tower                                     16
19   Washington, D.C. 20005                                    17
                                                               18
20      Appearing on behalf of the Retiree Committee           19
21                                                             20
22                                                             21
23                                                             22
                                                               23
24                                                             24
25                                                             25

                                                                                                1 (Pages 1 to 4)
                    Elisa Dreier Reporting Corp. (212) 557-5558
                        950 Third Avenue, New York, NY 10022
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 1              - SUZANNE TARANTO -                        1              - SUZANNE TARANTO -
 2       first paragraph under D on Page 5 from Ms.        2   case?
 3       Taranto's report.                                 3       A. No.
 4             MR. EATON: Okay. Thanks.                    4       Q. The numbers in the table on Page 6 of
 5       Q. Did you perform any other work in              5   your report represent, based on your calculations,
 6   association with calculating the OPEB claim in        6   the total amount of benefits that would be owed
 7   this bankruptcy?                                      7   over time to all of the OPEB eligible retirees
 8             MR. MORRIS: Object to form.                 8   present valued back to July 1, 2012, correct?
 9       A. We performed the allocation of the             9       A. Correct.
10   claim by individual.                                 10       Q. In your report, you also assume that
11       Q. Can you describe to me what you mean          11   -- or you also opine that $751 million of the --
12   by "the allocation of the claim by individual"?      12   of benefits will be paid under the 2014 retiree
13       A. We performed -- we developed a                13   healthcare -- health plan from the City to the
14   calculation of individual claims based on the        14   OPEB eligible retirees, correct?
15   settlement amount.                                   15           MR. MORRIS: Object to form.
16       Q. So you took the settlement amount and         16       A. That's the calculation of the present
17   then from that amount were able to come up with a    17   value of the new plan, yes.
18   calculation of the amount of claim for each          18       Q. I'm correct that that number
19   individual based on that amount?                     19   represents your calculation of the amount of
20       A. Yes.                                          20   benefits that will be paid present valued to July
21       Q. Other than the calculation of                 21   1, 2012, to the OPEB retirees under the 2014
22   individual claims once having a settlement claim     22   retiree health plan?
23   amount and other than modeling the present value     23           MR. MORRIS: Object to form.
24   of the City's liabilities to current retirees        24       A. Based on the 2014 plan continuing,
25   under the different discount rates in the table at   25   yes.
                                            Page 118                                                   Page 120
 1             - SUZANNE TARANTO -                         1             - SUZANNE TARANTO -
 2   the top of page 6, did you do any other work in       2       Q. Do you have any basis to think that
 3   association with the calculation of the OPEB claim    3   the benefits are expected to change from the 2014
 4   in bankruptcy?                                        4   retiree health plan going forward?
 5       A. No.                                            5           MR. MORRIS: Object to form.
 6       Q. The settled OPEB claim amount is not           6       A. I have no opinion as to what may
 7   any of the present value of benefits amounts          7   happen in the future with respect to retiree
 8   listed on the chart on the top of page 6 of your      8   benefits.
 9   report, correct?                                      9       Q. Fair enough. You're not offering any
10       A. It's my understanding.                        10   opinion regarding changes that may occur to the
11       Q. And do you have an understanding as           11   2014 retiree health plan going forward, right?
12   to how the OPEB claim amount that is the claim       12           MR. MORRIS: Object to form.
13   amount in class 12 of the plan of adjustment was     13       Misstates her testimony.
14   calculated?                                          14       A. I have not offered any opinion as to
15            MR. MORRIS: I'm going to object.            15   the future of these benefits.
16       Are you asking for the details of the            16       Q. In your view, the difference between
17       mediation that led to that settlement?           17   what the City would have paid under the 2013 plan,
18       Q. We can have a standing understanding          18   present valued back to July 1, 2012, and the
19   that I'm not asking you to divulge any material      19   amount that the City will pay under the 2014 plan
20   that is covered by mediation privilege in this       20   present valued back to July 1, 2012, would be
21   case. And I'm sure counsel will point out to you     21   derived by selecting one of the numbers on the
22   if they feel that you're treading close to that.     22   chart on Page 6 and subtracting the $751 million,
23            So what I am asking is, I'm asking          23   correct?
24   for whether you have independent understanding of    24           MR. MORRIS: Object to form.
25   how the OPEB claim amount was calculated in this     25       A. I don't understand the purpose of the
                                                                               30 (Pages 117 to 120)
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